               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE



UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       No. 2:09-CR-31
                                                      )
SHAWN WALLER                                          )



                              MEMORANDUM AND ORDER


               This criminal case is before the court on the defendant’s motion for a

continuance of the trial [doc. 710]. Counsel for the defendant states that the present

date is a first trial setting for this defendant, and given the voluminous discovery

related to all 32 defendants in this case,1 he requires additional time to review the

discovery and prepare for trial. Further, the defendant is facing a potential life

sentence, and this fact adds to the complexity of the case. The government has no

objection to the defendant’s motion.

               The court finds the defendant’s motion well taken, and it will be granted.

The court finds that the ends of justice served by granting the motion outweigh the

best interests of the public and the defendant in a speedy trial.                       18 U.S.C.

§ 3161(h)(7)(A). The court finds that the failure to grant the motion would deny

counsel for the defendant the reasonable time necessary for effective preparation.

        1
         The other 31 defendants have entered pleas of guilty and some of them have been sentenced.
Mr. Waller was severed from the others and is the last defendant remaining for trial.



     Case 2:09-cr-00031-DCLC-CRW           Document 715         Filed 08/19/10      Page 1 of 2
                                         PageID #: 1879
18 U.S.C. § 3161(h)(7)(B)(iv). The defendant’s motion requires a delay in the

proceedings, therefore, all the time from the filing of the defendant’s motion to the

new trial date is excludable as provided by the Speedy Trial Act. 18 U.S.C.

§ 3161(h)(7)(A).

             Therefore, it is hereby ORDERED that the defendant’s motion is

GRANTED, and this criminal case is CONTINUED to Tuesday, October 26, 2010,

at 9:00 a.m. The new plea cutoff date is October 15, 2010.


                                             ENTER:



                                                    s/ Leon Jordan
                                             United States District Judge




                                         2


  Case 2:09-cr-00031-DCLC-CRW       Document 715      Filed 08/19/10   Page 2 of 2
                                  PageID #: 1880
